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maintain an AWP-based reimbursement system in the private payor context. 4 Plaintiffs contend
that the members of each of these 88 conspiracies had the common purpose of “perpetuating a
reimbursement scheme based on AWP” because they each benefited from the scheme. AMCC 4
729. The PBMs allegedly seek to maintain the AWP system because they benefit by billing their
clients for prescription drugs based on AWPs that do not reflect the prices they actually pay for
the drugs. Each manufacturer allegedly benefits from the purported scheme by using the
“spread” between acquisition cost and AWP to induce each PBM to “advocate and favor” that
particular defendant’s drugs to the customers of the PBM’s clients. fd.

Plaintiffs’ conspiracy claims should be dismissed for several reasons. First, the
allegations of conspiracy do not satisfy the requirements of Rule 9(b). Second, plaintiffs fail to
state a claim for either a “concerted action conspiracy” or a “coercive conspiracy” — the two
types of civil conspiracy recognized under Massachusetts state law. See Massachusetts
Laborers’ Health & Welfare Fund v. Philip Morris, Inc., 62 F. Supp. 2d 236, 244 (D. Mass.
1999). Third, because plaintiffs’ conspiracy claims are duplicative of their RICO and consumer
fraud claims, Massachusetts law requires that they be dismissed.

A. Plaintiffs’ Conspiracy Claims Fail To Satisfy the
Pleading Requirements of Rule 9(b).

As this Court held in Van Schaick v. Church of Scientology of Cal., Inc., 535 F. Supp.
1125 (D. Mass. 1982), when pleading a civil conspiracy to defraud, a plaintiff must “plead
fraudulent conspiracy with enough specificity to inform multiple defendants of facts forming the

basis of the conspiracy charge.” /d. at 1141. Indeed, “such allegations must ‘delineate among

'* Plaintiffs allege diversity jurisdiction with respect to Count IX. See AMCC § 22. Accordingly, this
Court must apply the substantive law of Massachusetts, the forum state, to plaintiffs’ conspiracy claim. See Mass y.
Camp Pemigewassett, Inc., 312 F.3d 503, 507 (1" Cir. 2002),

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the defendants as to their participation or responsibilities’ in making the statements which are the
subject of the suit.” And, “{c]onspiracies described in sweeping and general terms cannot serve
as the basis for a cause of action, and may be dismissed.” Jd. Furthermore, a complaint alleging
a conspiracy based on fraud must specify the time, place, and content of the alleged fraud. See
Hayduk v. Lanna, 775 F.2d 441, 444 (1° Cir. 1985); Heinrich v. Sweet, 49 F. Supp. 2d 27, 46 (D.
Mass. 1999),

At the outset, plaintiffs’ conspiracy claims are inherently illogical: First, plaintiffs fail to
explain how defendants’ reporting of AWP can further a fraud when the relevant contracts are
negotiated at arm’s length by PBMs and the third-party payor plaintiffs and provide for
substantial discounts off AWP. See AMCC 169 (“In these contracts, the brand name drugs are

33%

priced at the AWP less a certain percentage ‘discount.””). Second, plaintiffs fail to explain how
each of 22 defendants could induce each of the PBMs to agree to favor that particular
defendant’s products over those of 21 other defendants, with whom the PBMs are also
conspiring. Plaintiffs’ allegations on this point simply make no sense.

Furthermore, the AMCC contains only the most conclusory assertions of multiple
conspiracies — 88 to be exact — between individual defendants and the four major PBMs. Indeed,
each paragraph describing an individual defendant’s participation in alleged conspiracies with
each of the four major PBMs, see AMCC § 728 (a) — (vy), is identical to those describing the
conduct of every other defendant, with the sole difference being the defendant’s identity.

Plaintiffs make rote and conclusory allegations about an entire industry without providing

any specific details about what individual acts any particular defendant purportedly took to

further the alleged conspiracies with the PBMs. Rule 9(b) is intended to safeguard a defendant’s

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ability to defend itself against serious allegations of fraud by imposing heightened pleading
standards for such claims. Plaintiffs clearly fail to meet those standards. See Doyle v. Hasbro,
Inc., 103 F.3d 186, 194 (1* Cir. 1996) (affirming dismissal of conspiracy allegations under Rule
9(b) where plaintiff merely alleged that defendants “‘worked closely together and were aware of
the others’ conduct’” and that defendants “‘conspired ... for... their own personal financial
gain’”); Herring v. Vadala, 670 F. Supp. 1082, 1087 (D. Mass. 1987) (dismissing civil
conspiracy claim that was “simply a vague and conclusory sweep of all of the defendants into
one conspiracy without specifying what action each defendant took”’).

B. Plaintiffs Fai] To Allege A Concerted Action Civil Conspiracy.

In Massachusetts, a claim for a “concerted action” civil conspiracy requires a showing
that two or more people acted in concert to commit an unlawful act or to commit a lawful act by
unlawful means. See Grant v. John Hancock Mut. Life Ins. Co., 183 F. Supp. 2d 344, 359
(D. Mass. 2002). Because plaintiffs have failed to allege specific facts that, if proved, would
establish (1} that each defendant entered into an agreement with each PBM to commit an
uniawful act, and (2) that each defendant committed a tortious act in furtherance of such an
agreement, plaintiffs have failed to allege a “concerted action conspiracy” under Massachusetts
law. See Aetna Cas. Sur. Co. v. P & B Autobody, 43 F.3d 1546, 1564 (1* Cir. 1994) (“For
liability to attach on this basis, there must be, first, a common design or an agreement... and,
second, proof of some tortious act in furtherance of the agreement.”) (citation omitted).

The AMCC contains only the conclusory allegation that “[d]Jefendants consciously
conspired and deliberately pursued a common plan or design to commit tortious acts, with each

PBM that was part of its conspiracy.” AMCC ¢ 729. There are no defendant-specific allegations

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about any communications between any individual defendant and a PBM, let alone specific
allegations of an agreement between a defendant and any PBM that the PBM should base its
reimbursement rates on AWP, or that the defendant should report fraudulent AWPs. See id. Jf
726-33.

Even assuming that the PBMs engaged in misleading or deceptive conduct in the course
of their negotiations with the private payor plaintiffs, there are no particularized allegations
suggesting that any of the defendants was aware of such conduct. See Grant, 183 F. Supp. 2d at
364 (“Because a conspiracy requires an agreement to commit a wrongful act, none can exist
where an alleged participant lacks knowledge that a wrongful act is being perpetrated.”) (citation
omitted). Because plaintiffs fail to allege with particularity that each defendant and each PBM
agreed to engage in unlawful conduct, the civil conspiracy claim must be dismissed.

Cc. Plaintiffs Fail To Allege A Coercive Conspiracy.

Plaintiffs also fail to allege facts supporting a “coercive conspiracy” claim under
Massachusetts law. Coercive conspiracy is a “rare,” Fleming v. Dane, 22 N.E.2d 609, 611
(Mass. 1939), and “very limited” cause of action, Aetna, 43 F.3d at 1563. To prevail on sucha
claim, a plaintiff must demonstrate that the defendants, acting in unison, exerted a “peculiar
power of coercion” over plaintiffs, which any individual standing in like relation to plaintiffs
would not have had. See Massachusetts Laborers, 62 F. Supp. 2d at 244 (citing Fleming, 22
N.E.2d at 611).

Massachusetts Laborers is particularly instructive. There, an employee health benefit
plan sued a tobacco manufacturer for civil conspiracy based on the manufacturer’s manipulation

of scientific research and concealment of unfavorable facts regarding the effects of smoking.

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The court held that the plaintiff could not state a claim for “coercive conspiracy” because the
defendants’ activities were not peculiarly focused on the plaintiffs. See id. at 245. Rather, the
alleged conduct was directed at the general public. See id. (holding “an allegation of a generally
exerted and generally felt power of coercion is not sufficient to plead the independent tort of

“coercive” | conspiracy as recognized in Massachusetts”). The alleged conduct at issue here —
defendants’ reporting of AWPs -- is similarly “generally exerted” and “generally felt.”"°
Accordingly, plaintiffs have failed to state a claim for coercive conspiracy.

D. Plaintiffs’ Conspiracy Claims Are Duplicative Of Their Other Claims.

It is settled law that there is no separate action for damages for a civil conspiracy where
the conspiracy claim is based on the same underlying conduct as the plaintiff’s other claims. See
Grant, 183 F. Supp. 2d at 364 (quoting Putnam v. Adams Comm. Corp., Civ. A. No. 84-0355-S,
1987 WL 13262, at *9 (D. Mass. June 15, 1987) (“Where the allegations of conspiracy add
nothing to the underlying tort allegations, the courts have repeatedly held that “the gist of such
action is not the conspiracy alleged, but the tort committed against the plaintiff.”””). Because
plaintiffs’ civil conspiracy claims are based on the same allegations underlying plaintiffs’ RICO
and consumer fraud claims, see AMCC J 619-91, the conspiracy claims in Count IX should be

dismissed.

'® Moreover, plaintiffs have not alleged that the defendants acted in unison with the PBMs. The AMCC
only alleges that the defendants and PBMs had a similar interest in perpetuating the AWP-based reimbursement
system because it was to their benefit. See AMCC 729. Mere evidence of joint activity is insufficient to sustain a
claim of coercive conspiracy. See Tennaro v. Ryder Sys., Inc., 832 F. Supp. 494, 499 (D. Mass. 1993) (citation
omitted).

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IV. PLAINTIFFS FAIL TO STATE A CLAIM UNDER THE STATE CONSUMER
FRAUD STATUTES.

Plaintiffs assert claims under eleven state consumer fraud laws.!° As discussed above,
see supra pp. 6-10, plaintiffs fail to allege their claims under these statutes, which sound in fraud,
with the particularity required by Rule 9(b).'” Plaintiffs also fail to state claims under the
controlling law of all of these states. First, plaintiffs fail to adequately plead that defendants’
conduct proximately caused them to overpay for defendants’ drugs. Second, plaintiffs cannot
successfully allege that defendants engaged in a “deceptive” or “misleading” practice by
reporting AWPs. Third, plaintiffs’ claims fall outside the scope of certain of the state consumer
protection laws for a variety of reasons that are described below.

A. Plaintiffs Cannot Show That Defendants Directly Caused Them To Pay
Higher Prices.

Eight of the eleven state consumer protection laws!® under which plaintiffs seek to
recover require a showing that the allegedly fraudulent statements or conduct at issue directly

and proximately caused plaintiffs’ injuries.'? Plaintiffs cannot allege that their purported injuries

'S California, Delaware, Florida, Illinois, Louisiana, Minnesota, New Jersey, New York, Pennsylvania,
Texas, and Washington.

v Hayduk, 775 F.2d at 443 (“[Alithough state law governs the burden of proving fraud at trial, the
procedure for pleading fraud in federal courts in all diversity suits is governed by the special pleading requirements
of Federal Rule of Civil Procedure 9(b).”).

' Florida, Illinois, Louisiana, New Jersey, New York, Pennsylvania, Texas, and Washington.

'? See, e.g., Association of Wash. Pub. Hosp. Dists. v. Philip Morris, Inc., 241 F.3d 696, 706 (9" Cir. 2001)
(concluding that proximate cause standards under RICO govern claims under Washington’s consumer protection
statute and dismissing claim because there was no “direct link” between plaintiffs’ damages and defendants’
conduct); Oliviera v. Amoco Oil Co., Inc., 776 N.E.2d 151, 155-6, 164 (III. 2002) (“market theory” of causation is
not sufficient under Illinois Consumer Fraud Act; plaintiff must allege that he saw, heard, or read the allegedly
deceptive advertisements and was deceived by them); Weinberg v. Sun Co., 777 A.2d 442, 444 (Pa, 2001) (to state a
claim under Pennsylvania consumer protection statute, plaintiff must suffer loss as a result of defendants’ conduct);
Feinberg v. Red Bank Volvo, Inc,, 752 A.2d 720, 723 (N.J. Super. Ct. App. Div. 2000) (“In order to be entitled to
damages under the [New Jersey] Consumer Fraud Act, a plaintiff must ‘prove that the unlawful consumer fraud
caused his loss.””) (citation omitted), Stutman v. Chem. Bank, 731 N.E.2d 608, 611 (N.Y. 2000) (to state a claim

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were directly caused by defendants’ reporting of AWPs. Rather, they allege, at best, only an
attenuated causal chain, involving many intervening actors. See pp. 21-23 supra. Such
allegations are insufficient to support claims under the consumer fraud statutes of these eight
states.

The Illinois Supreme Court’s decision in Oliveira v. Amoco Oil Co., 776 N.E.2d 151 (IL.
2002), provides a useful comparison. In that case, the plaintiff filed a class action complaint
alleging that Amoco Oil Company falsely represented in a series of advertisements that the use
of its premium gasoline would improve engine performance and benefit the environment. Id. at
154. Plaintiff further alleged that these misrepresentations, along with the increased demand for
Amoco’s premium gasoline they engendered, allowed Amoco to charge inflated prices for its
gasoline, thereby causing damage to purchasers, regardless of whether the purchasers were aware
of the advertisements. /d. Plaintiff, however, failed to allege that the advertisements induced
him to purchase Amoco’s gasoline, or even that he saw, heard, or read any of the allegedly
deceptive advertisements. /d. at 155. Accordingly, the court dismissed plaintiff's consumer
fraud claim for failure to plead proximate causation adequately. See id. at 164.

Here, the allegations of the AMCC make clear that plaintiffs were not induced by the
published AWPs to purchase defendants’ products. Indeed, the AMCC does not even allege that

any plaintiff read the national pharmaceutical pricing compendia that list AWPs.

under N.Y. Gen. Bus. L.§ 349, plaintiff must suffer injury “as a result” of defendants’ deceptive act); McGill v.
General Motors Corp., 231 A.D.2d 449, 450 (N.Y. App. Div. 1996) (plaintiffs must show they knew of and relied
upon the allegediy false advertisements to state a claim under N.Y. Gen. Bus. L. § 350); Chicken Unlimited, inc. v.
Bockover, 374 So. 2d 96, 97 (Fla. Dist. Ct. App. 1987) (no causation under Fla, Stat.Ann. §501.204 where plaintiff
knew of the potential falsity of the alleged misrepresentations); Tex. Bus.& Com. Code 17,45(13) (requiring
“specific intent that the consumer act in detrimental reliance on the falsity or deception or in detrimental ignorance
of the unfairness”}; La. Rev. Stat. Ann. § 51:1409 (creating a private right of action for the loss suffered “as a result
of an unfair or deceptive method, act or practice . . .”).

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Plaintiffs here fail to plead proximate causation in other ways as well. As discussed
above, see pp. 21-23 supra, their allegations make clear that there were multiple intervening
actors in the causal chain between defendants’ alleged conduct and plaintiffs’ alleged injuries.
These intervening actors include: (i) doctors, who ultimately determine which drugs to prescribe
to their patients; (ii) private health insurance plans and funds, which contract with PBMs and
frequently establish formularies that influence the drugs their customers use; (111) Congress,
which enacted the legislation providing that non-multi-source Medicare Part B covered drugs
would be reimbursed at the lower of the providers’ actual charge or 95% of AWP; and (iv) CMS,
which administers the federal Medicare program. Given these intervening causes of plaintiffs’
alleged injuries, the causal chain alleged in the AMCC is simply too attenuated to support a
claim of consumer fraud.”” Because the AMCC fails to plead adequately that defendants’
conduct directly caused plaintiffs’ alleged injuries, plaintiffs’ claims under the consumer fraud
statutes of Florida, IHinois, Louisiana, New J ersey, New York, Pennsylvania, Texas, and
Washington must be dismissed.

B. Plaintiffs Cannot Demonstrate That Defendants’ Conduct
Was “Deceptive ” Or “Misleading.”

State consumer fraud statutes are intended to protect consumers against “sharp practices
and dealings in the marketing of merchandise and real estate.” Daaleman v. Elizabethtown Gas
Co., 390 A.2d 566, 569 (N.J. 1978). These consumer-oriented laws typically apply in

circumstances where consumers have been targeted by unscrupulous advertisers or retail

” See, e.g., Prudential Ins. Co. of Am. v. Jefferson Assoc., Lid., 896 §.W 2d 156, 161-62 (Tex. 1995)
(citing, with approval, Dubow v. Dragon, 746 S.W.2d 857, 860 (Tex. Ct. App. 1988), which dismissed plaintiff s
claim where a “new and independent basis for [plaintiff's] purchase” existed which “intervened and superseded”
defendant's alleged wrongful act); Bartlett v. Schmidt, 33 S.W.3d 35, 38-41 (Tex. Ct. App. 2000) (dismissing
plaintiff's claim because plaintiff failed to demonstrate an “unbroken causal connection between the allegedly
deceptive act and the actual damages suffered”).

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salespersons. See, e.g., ARC Networks, Inc. v. Gold Phone Card Co., 756 A.2d 636, 638 (N_J.
Super. Ct. Law Div. 2000) (identifying automotive repairs, delivery of household furniture, and
home improvement practices as paradigmatic application of the New Jersey Consumer Fraud
Act).

Accordingly, the state statutes invoked by plaintiffs require a showing that the public
was, or could have been, deceived by defendants’ conduct.”! Where, as in this case, the alleged
misrepresentations were not made to plaintiffs, these state laws simply do not apply. Indeed,
plaintiffs here do not ~ and cannot — allege that the end-payors they seek to represent were “lured
into a purchase through fraudulent, deceptive or other similar kinds of selling or advertising
practices” by defendants. Daaleman, 390 A.2d at 569.

Furthermore, the allegations contained in the AMCC demonstrate that plaintiffs were not
misled to believe that published AWPs reflect actual average acquisition costs. To the contrary,
the AMCC alleges that plaintiffs negotiate with PBMs to pay for drugs at prices that reflect
discounts off AWP, thus demonstrating that the members of the proposed class are aware that

AWPs reflect undiscounted prices. Accordingly, because plaintiffs have failed to allege

* See Oliveira, 776 N.E.2d at 160 (defendant not liable unless act was “deceptive”); Davis v. Powertel,
ine., 776 So.2d 971, 974 (Fla. Dist. Ct. App. 2000) (defendant’s act must be “likely to deceive a consumer acting
reasonably” under the circumstances); 6 Del. Code § 2513(a) (2001) (prohibiting use of any “deception, fraud, false
pretense, false promise, misrepresentation, or the concealment, suppression or omission . . . in connection with the
sale, lease or advertisement of any merchandise”); State ex rel. Humphrey v. Directory Publ’ng Servs., inc., No, Cl-
95-1470, 1996 Minn. App. LEXIS 62, at *12 (Minn. Jan. 9, 1996) (act must have capacity to mislead); Cox v. Sears,
Roebuck & Co., 647 A.2d 454, 462 (N.J. 1994) (“The capacity to mislead is the prime ingredient of all types of
consumer fraud.”); Oswego Laborers’ Local 214 Pension Fund y. Marine Midland Bank, N.A., 647 N.E.2d 74],
744-45 (N.Y. 1995) (no cause of action under New York’s consumer protection statute where defendants’ conduct
was not “likely to mislead a reasonable consumer acting reasonably under the circumstances” ); Marshall v, Citicorp
Mortg., inc., 601 So.2d 669, 670 (La. Ct. App. 1992) (“plaintiff must prove some element of fraud,
misrepresentation, deception, or other unethical conduct” by defendant); Doe v. Boys Clubs of Greater Dallas, Inc.,
907 S.W.2d 472, 479-80 (Tex. 1995) (defendant’s act must have “capacity to deceive”); Hangman Ridge Training
Stables, Inc. v. Safeco Title Ins. Co., 719 P.2d 531, 535 (Wash. 1986) (plaintiff must show “that the alleged act had
the capacity to deceive a substantial portion of the public”) (citation omitted).

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adequately that the challenged practice — defendants’ reporting of AWPs — could deceive
plaintiffs, the consumer fraud claims must be dismissed.

C, Plaintiffs’ Claims Falls Outside The Scope Of Certain Of The
State Consumer Protection Laws.

1. Standing

Plaintiffs lack standing to bring a claim under certain of the statutes alleged, including
those of Delaware, Florida, Louisiana, New Jersey, Pennsylvania, and Washington.

Under the Deceptive Trade Practices Act (“DTPA”) of Delaware only the Attorney
General may bring suit on behalf of consumers, see 6 Del. Code § 2533, and private suits under
this section can only be brought by competitors of the defendant, S&R Assocs., L.P., HI v. Shell
Oil Co., 725 A.2d 431, 440 (Del. Super. Ct. 1998).

Only residents of Florida have standing to bring a cause of action under the Florida
Deceptive Trade and Unfair Practices Act (““FDTUPA”). See OCE Printing Sys. USA, Inc. vy.
Mailers Data Servs., Inc., 760 $o.2d 1037, 1042 (Fla. Dist. Ct. App. 2000). Because none of the
named plaintiffs is alleged to be a resident of Florida, plaintiffs’ claims under FDTUPA must be
dismissed,

A number of Louisiana courts have held that only direct consumers and business
competitors have standing to sue under the state’s Unfair Trade Practices Act (“LUTPA”), La.
Rev. Stat. Ann. § 1405. See Cashman Equip. Corp. v. Acadian Shipyard, Inc., 2002 U.S. Dist.
LEXIS 12243, at *4-5 (E.D. La. 2002) (discussing cases and noting split among Louisiana
courts), aff'd, 2003 U.S. App. LEXIS 8927 (Sth Cir. Apr. 11, 2003). In Cashman, a federal court
applying Louisiana law dismissed a LUTPA claim brought by an insurer for lack of standing,

reasoning that the insurer was neither a consumer nor a competitor.

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Under New Jersey’s consumer fraud statute, N.J. Stat. Ann. 56:8-1 ef seq., a consumer is
“one who uses (economic) goods, and so diminishes or destroys their utilities.” City Check
Cashing, Inc. v. The Nat'l State Bank, 383 A.2d 809, 811 (N.J. Super. Ct. 1990) (quotation
omitted). The named plaintiffs here are not consumers within the meaning of the New Jersey
statute because they do not “diminish or destroy the utility” of the prescription drugs identified in
the AMCC. Accordingly, they lack standing to sue under New Jersey’s Consumer Fraud Act.”

Likewise, because no plaintiff alleges that it purchased any of defendants’ products
“primarily for personal, family or household purposes,” plaintiffs do not have standing to bring a
claim under Pennsylvania’s Unfair Trade Practices and Consumer Protection Law. 73 Pa. Stat. §
201-9.2; see also Waldo v. North Am. Van Lines, Inc., 669 F. Supp. 722, 725-26 (W.D. Pa. 1987)
(granting summary judgment where plaintiff “did not buy [goods at issue] to consume personally
or with his family”).

Finally, plaintiffs lack standing under Washington law to assert a claim under its
consumer protection statute because they have not purchased drugs directly from the defendants.
Cf Blewett v. Abbott Labs., 938 P.2d 842, 844 (Wash. Ct. App. 1997) (holding that a consumer
who purchased a drug from a retail pharmacy, rather than directly from a manufacturer, does not
have standing to bring a claim for inflated pricing under Washington’s Consumer Protection

Act).

22 A recent case, Destano v. Warner-Lambert Co., 326 F.3d 339, 349-50 (2d Cir. 2603), misconstrued New
Jersey law, permitting insurers to bring suit against drug manufacturers for alleged fraud in violation of the CFA. In
that case, the Second Circuit failed to consider the New Jersey cases, supra, that limit the right of action under the
Consumer Fraud Act to consumers (failed, indeed, to consider any New Jersey cases), and instead based its decision
on general causation principles.

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2. Reliance

Contrary to plaintiffs’ allegation, see AMCC { 686, N.Y. Gen. Bus. Law § 350 (one of
the two New York statutes plaintiffs invoke) and Pennsylvania’s Unfair Trade Practices and
Consumer Protection Law, 73 Pa. Stat. § 201-9.2, require a showing of reliance. See McGill,
231 A.D.2d at 450; Weinberg, 777 A.2d at 446; Debbs v. Chrysler Corp., 810 A.2d 137, 158 (Pa.
Super. Ct. 2002) (stating “fraud under UTPCPL require[s] an individualized showing of reliance
on a fraudulent statement”); see also Sponaugle v. First Union Mortg. Corp., No. 01-3325, 2002
WL 1723894, at *3 (3d Cir. July 25, 2002) (citations omitted). Because plaintiffs fail to allege
that they relied on defendants’ allegedly fraudulent statements, their claims under these statutes
must be dismissed.

3. No Consumer-Oriented Conduct

New York’s consumer fraud statute, N.Y. Gen. Bus. Law § 349, requires, as a threshold
matter, that the challenged conduct be consumer-oriented. See New York Univ. v. Continental
Ins. Co., 662 N.E.2d 763, 770 (N.Y. 1995) (citation omitted). The defendants’ reporting of
AWPs to the publishers of pharmaceutical pricing compendia can hardly be described as
consumer-oriented. Furthermore, the New York Court of Appeals has held that a bilateral
contract negotiated in an arm’s-length transaction is not within the purview of the statute. See id.
Here, plaintiffs seek to represent hundreds, if not thousands, of private health funds and
insurance plans with respect to contracts those entities entered into with PBMs. As the New York
University case makes clear, such conduct is not “consumer-oriented” and, therefore, is not

actionable.

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V. ALL CLAIMS RELATING TO MULTIPLE-SOURCE DRUGS SHOULD
AGAIN BE DISMISSED.

Plaintiffs again attempt improperly to extend this case to multiple-source drugs. As this
Court held in dismissing the MCC, “multiple source drugs do not fit the paradigm described in
the complaint.” AWP Litigation, 263 F. Supp. 2d at 194 n.11. Plaintiffs’ claims with respect to
multiple-source drugs are inconsistent with the laws of mathematics and conflict with the
plaintiffs’ liability theory. Accordingly, this Court should dismiss all claims with respect to
those drugs. See Exhibit B hereto (listing multiple-source drugs named in the AMCC).

A, Medicare Part B Claims Should Again Be Dismissed
AsT to Multiple-Source Drugs.

Medicare Part B pays for multiple-source drugs and biologicals at a flat rate calculated as
“the lesser of the median average wholesale price for all sources of the generic forms of the drug
or biological or the lowest average wholesale price of the brand name forms of the drug or
biological.” 42 C.F.R. § 405.517; see also AMCC § 184. Under this methodology, one
manufacturer cannot obtain a competitive advantage over another by increasing the AWP for its
drug. Any effect that such an increase would have on Medicare payments would apply equally
to all forms of the drug. As this Court recognized, the effect of this common payment rate is
fundamentally inconsistent with the AMCC’s notion that defendants “motivate[d] the providers
to sell and administer the drugs with the most inflated AWPs.” AMCC 4 3.

Plaintiffs again fail to explain how manufacturers of multiple-source drugs gain a
competitive advantage with respect to Medicare Part B covered multiple-source drugs by raising
the AWPs for their drugs. Plaintiffs still allege that defendants competed “not based on lower

prices” but by inflating their AWPs in a “perversion of the type of competitive behavior expected

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in a market not subject to illegal manipulation.” AMCC 4 6. This is identical to the language
used in the MCC to describe plaintiffs’ theory. See MCC 4 6.

In their attempt to shoehorn multiple-source drugs into this case, plaintiffs contort the
rules of mathematics. According to plaintiffs, “raising of an individual Defendant’s reported
AWP for a multiple-source drug raises the median AWP at which the generic drug is
reimbursed.” AMCC 4 186. Plaintiffs contend that a single manufacturer can “effect [sic] the
median generic reimbursement AWP” for a multiple-source drug. /d But, plaintiffs confuse the
median with the mean. The median is “that quantity which is so related to the quantities
occurring in a given set of instances that exactly as many of them exceed it as fall short of it.”
The Oxford English Dictionary 543 (2d Edition 1989). The mean, by contrast, is the
mathematical average. See id. at 519.7

Most importantly, all formulations of a multiple-source drug are reimbursed at the same
rate, regardless whether one manufacturer can raise that rate. This prevents competition based
upon a single drug’s AWP. No provider can be “motivated” to purchase one drug as opposed to
another by virtue of an inflated AWP.

B. Plaintiffs’ Conspiracy Allegation Is Insufficient.

Perhaps to address this fact, plaintiffs add to the AMCC a one-sentence allegation of a
horizontal conspiracy among the competing manufacturers of multiple-source drugs:

Because reimbursement is pegged to the AWP, drug makers act in unison by elevating the

AWP for all generic drugs, thereby inflating the amount of the reimbursement that occurs
through Medicare Part B, including the Medicare co-payment through Part B.

* This difference can be critical. Assume that the AWPs for five formulations of a multiple-source drug
are $3, $5, $7, $8 and $50. The median AWP is $7. If the manufacturer with the $50 drug raises its AWP to $60,
the median AWP remains $7.

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AMCC 7 184. This conclusory allegation of conspiracy is inconsistent with the remainder of the
theories in the AMCC, and it is insufficient under Rule 9(b). Plaintiffs do not describe who
entered these agreements, where they were consummated, or what their goals were. Thus,
plaintiffs have not plead their conspiracy claims “with enough specificity to inform multiple
defendants of facts forming the basis of the conspiracy charge.” Van Schaick, 535 F. Supp. at
1141. Nor does the AMCC “‘delineate among the defendants [as to] their participation or
responsibilities’ in making the statements which are the subject of the suit.” /d. (citation
omitted).

In fact, plaintiffs’ conspiracy allegations make no sense. Plaintiffs never explain how
defendants competed by raising AWPs in one context, but cooperated to set these same AWPs in
unison in another context. Thus, plaintiffs provide none of the detail that is demanded by Rule
9(b). See Doyle, 103 F.3d at 194; Hayduk, 775 F.2d at 44; Herring, 670 F. Supp. at 1087.

C. The Non-Medicare Allegations Regarding Multiple-Source Drugs
Likewise Should Be Dismissed.

Plaintiffs also allege that payment for multiple-source drugs by certain unnamed private
entities is based upon unspecified formulae “sometimes” connected to AWP. AMCC 4 182. For
example, plaintiffs contend that private payor reimbursement for multiple-source drugs may be
determined as “a certain percentage ‘discount’ off of the AWP,” and, at other times, it may be
based on a uniform “maximum allowable cost” or “MAC.” AMCC 4 181. According to
plaintiffs, a pharmacy benefit manager “sometimes” will calculate a MAC “based on list average
wholesale prices of competing multiple-source drug manufacturers.” AMCC § 182. As with the

PBM allegations discussed supra at___, these vague generalizations cannot support a claim that

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defendants competed on the “spread” as to multiple-source drugs in the private market.”*

CONCLUSION

For the reasons stated above, the Amended Master Consolidated Class Action Complaint

should be dismissed.

Respectfully Submitted,
ON BEHALF OF ALL DEFENDANTS

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™ Plaintiffs also quote at length from a lawsuit which challenged the arbitrary decision by First Data Bank
(“FDB”) to calculate the AWP for one manufacturer differently than its competitors. See AMCC 4 189-90, These
allegations are irrelevant to the manner in which multiple-source drugs are reimbursed; simply put, it remains
mathematically impossible for manufacturers of multiple-source drugs to compete on the AWP “spread” in the
Medicare Part B context. Indeed, the lawsuit never even mentions Medicare. A more detailed discussion of this
FDB lawsuit is contained in the individual brief filed by defendant Dey.

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